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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                EASTERN DIVISION


 UNITED STATES OF AMERICA,                            )
                                                      )
        Plaintiff,                                    )
                                                      )
 v.                                                   )      Case No. 1:17-cr-10003-7- STA
                                                      )
 STEPHEN WILLIAMS                                     )
                                                      )
        Defendant.                                    )


      ORDER CONTINUING SENTENCING HEARING AND NOTICE OF RESETTING


        The Sentencing Hearing in this matter is currently set for January 16, 2018 before Chief

 Judge S. Thomas Anderson. The Sentencing Hearing in the above styled matter is hereby reset

 to Monday, March 19, 2018, at 1:45 p.m. before Judge S. Thomas Anderson; Courtroom #1,

 4th Floor, US Courthouse, Jackson, Tennessee.



        Enter this the 19th day of January, 2018.



                                                      s/ S. Thomas Anderson
                                                      Chief United States District Judge
